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            EXHIBIT 184
            REDACTED
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                      WPATH Executive Committee Agenda
                        Wednesday, September 1, 2021
                                9:00am ET


             1. Welcome and Call for New Items
             2. Minutes from August 18, 2021 — attached—                   CTION
             3. Dr. Rachel Levine Meeting Update —
             4. SOC8 Update —
                   a. Discuss traffic management document
                   b. Timeline
                   c. Strategic Staff Update
                   d. Legal Review — discuss where this will go (ideas; ACLU, TLDEF, Lambda
                      Legal,
                   e. Cosponsoring/Endorsing Organizations — attached — (draft list attached for
                      input)
                   f. Public Comment Process (website, eblast to all in database, other ideas?)
             5. Gavi Ansari Complaint — Next Steps — attached — for discussion
                   a. Since he is unwilling to list names, we cannot check member status,
                      suggestion: compose letter to AusPATH leadership and send letter to
                      WPATH members living in Australia.
             6. Montreal 2022 — Contract Update — attachment pending return from hotel.




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           Re: Medical Necessity Statement (SOC8)
           From:
           To:
           Cc:


           Date:    Wed, 05 Jan 2022 06:48:30 -0500

           Hi=

           I am pleased to hear the medical necessity statement is being updated (as the 2016 sounds a bit
           outdated and some of the language is now obsolete....) and I am happy to help with this too, and
           ideally tweak it, so it applies globally rather than specifically to the US.

           Also, I am happy to publish this medical necessity statement separately in IJTH - that will take only a
           few weeks and then it can be added to the SOC8 as an appendix, together with other important
           (published statements), such as the gender identity recognition statement, etcetera.

           I am just throwing this out here, so that        and      can decide, whether they want to incorporate
           these WPATH statements in the SOC8.

           With warm wishes,




           On 2022-01-05 01:30,                wrote:




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            I think Population Estimates is fine.

            I would not use the word "trends" as forms of that word are used by anti-trans forces to discredit
            gender as a "trend."

           Mthe co-editors,          and I have discussed having a medical necessity statement in the
           introduction. A comprehensive list of procedures that may be medically necessary as treatments for
           gender dysphoria is important for access to care in the US-- WPATH SOC 7 and the 2016 Medical
           Necessity position statement are used frequently in independent medical reviews of insurance
           denials, and in state regulation of insurance. We have worked on an updated version of this
           statement, and should make sure it is adequate for the purposes of supporting care coverage.

            Thanks             and      for your hard work!

            Best,




            On Tue, Jan 4, 2022 at 5:04 PM                                   wrote:
             this chapter is not about population health.

              it is about estimates.

              On Tue, Jan 4, 2022 at 6:55 PM                                                     wrote:
               How about Population Health Trends?

                Sent from my iPhone


                I   On Jan 4, 2022, at 11:19 AM,

                    Population Health Statistics? - Just an idea
                                                                                                          wrote:




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                On Tue, 4 Jan 2022 at 14:06,                                  wrote:

                  I should add that i am now in a School of 'Population Health', which until 12 months ago
                  was a School of 'Public Health'.




                  From:
                  Sent: Tuesday, January 4, 2022 21:55
                  To:
                  Cc:                                                      SOC 8 Chapter Leads
                  Subject: Re: Chapter Names and Order




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                 Hmm... I wonder what one could name the chapter instead. The earlier
                 suggestion 'Population Health Research' won't cut it, I am afraid. It doesn't
                 really address what the chapter is about. 'Population Health Research' is
                 a near synonym for 'Public Health Research', but this chapter is
                 exclusively about numbers. Estimated numbers.



                 From:
                 Sent: Tuesday, January 4, 2022 20:59
                 To:
                 Cc:                                                       SOC 8 Chapter Leads
                 Subject: Re: Chapter Names and Order

                 Hello

                 I do agree in very many cases. However, I do a fair bit of forensic and governmental
                 work and unfortunately they are not known for understanding nuance (or indeed
                 science!). I worry using estimates will be a bit like the theory of evolution being
                 considered to be 'just a theory' and so dismissed. Judges and law-makers will dismiss
                 estimates in a way in which they will not research, even though we understand that -
                 while there are common understandings of these words - the scientific meanings of
                 these words are more nuanced.

                 My hope with these SoC is that they land in such a way as to have serious effect in the
                 law and policy settings that have affected us so much recently; even if the wording isn't
                 quite correct for people who have the background you and I have.

                 Warm Regards,




                 On Tue, 4 Jan 2022 at 03:05,                                   wrote:

                   Hi




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                   Not sure about that             I would say that the best of our research has only
                   'determin(ed) roughly the size, extent.. ' of the trans population.




                   From:
                   Sent: Monday, January 3, 2022 21:16
                   To:
                   Cc:                                                        SOC 8 Chapter Leads
                   Subject: Re: Chapter Names and Order

                   Are they estimates?

                   Merriam-Webster gives:

                   Full Definition of estimate (Entry 1 of 2)
                   transitive verb

                   1a: to judge tentatively or approximately the value, worth, or significance of
                   b: to determine roughly the size, extent, or nature of
                   c: to produce a statement of the approximate cost of

                   It seems they are more robust than that.




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                   Warm Re.ards,




                   On Tue, 21 Dec 2021 at 00:58,                                   wrote:
                    This was nicely brought to our attention and I personally like population
                    estimates

                    •
                     On Mon, Dec 20, 2021 at 6:24 PM                                     wrote:




                        More specifically, 'Population Estimates'




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                      From:



                      Sent: Tuesday, December 21, 2021 1:36



                      To:



                      Cc:



                      Subject: Re: Chapter Names and Order




                               I appreciate and support your suggestion.




                      Thank you,




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                      On Mon, Dec 20, 2021, 8:37 AM
                                                           wrote:




                        I wonder about Epidemiology as a name?




                        I know it can relate to other health factors, but is often understood to relate
                        to disease specifically - for example




                        The BMJ: https://wwvv.bmi.com/about-bmi/resources-
                        readers/publications/epidemiology-uninitiated/1-what-epidemiology




                        The WHO: https://www.who.int/publications/journals/weekly-
                        epidemiological-record




                        That's not a great look for WPATH - Perhaps we could use something like
                        Population Health Research

                        instead?




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                        Warm Regards,




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                        On Fri, 17 Dec 2021 at 14:59,        wrote:




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                         We have drafted the names of the chapters and put them in sections.




                         Each chapter will have a heading of Standards of Care for
                         Transgender and Gender Diverse Individuals - and then the shortened
                         chapter title.




                         There are a few chapters that we will be discussing changing the
                         names.




                         If you have some feedback on this - please send.




                         Thanks again for all your hard work!




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           Re: Request to help disseminate report critiquing science
           behind Texas and Alabama measures to criminalizing care
           From:
           To:

           Cc:

           Date:   Wed, 18 May 2022 00:58:31 -0400

           Hi        this was approved. There may have been a delay in communicating this due to our
           busy staff. You may certainly list us as an endorsement.

           Best,



           From:
           Sent: Tuesday, May 17, 2022 9:10 AM
           To:

           Cc:

           Subject: Re: Request to help disseminate report critiquing science behind Texas and
           Alabama measures to criminalizing care


             This Message Is From an External Sender
             This message came from outside your organization.
           Hello Everyone,

           Thank you all for your support of our dissemination efforts.

           We did spend time reflecting on how to discuss the issue of age for genital surgery as we
           understand and agree with the need to tailor to the individual. After consultation with those
           involved in the Alabama lawsuit, the consensus appeared to be that quoting the standards
           of care and remaining as close to this as possible would be most helpful for the case at this
           time.

           It sounded like the report was being shared with USPATH board for their approval prior to
           any steps being taken. Is there an update? If there are any questions we can address and/or
           other ways that we can be helpful please let me know and I can discuss with the team.

           Best,




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           Subject: RE: Request to help disseminate report critiquing science behind Texas and
           Alabama measures to criminalizing care




           Dear—            I agree with your comments, and we can certainly pass this along to the USPATH
           Board for their OK to support and disseminate. I will work with you offline to get this out to the board
           for an electronic approval to support and disseminate.

           DearM- Further to your previous communications with                           WPATH's Executive Committee
           has met today and is happy to endorse your Report. We do want to make a caveat though, which is
           that although the responses are correct from an academic point of view, from a clinical point of view
           gender affirming surgeries (genital and otherwise) are currently taking place for TGD people under the
           age of 18 years tailored to the needs of the individual (in the US, Europe, and elsewhere). We believe
           it is important to stress this reality. Often, real-life clinical practice precedes the publication of
           evidence-based guidelines and research data.

           Once we have the approval vote from USPATH Board, we can send via eblast to our database and
           post on the website.

           Best Regards




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           From:
           Sent: Wednesday, May 4, 2022 12:54 AM
           To:
           Cc:

           Subject: Re: Request to help disseminate report critiquing science behind Texas and Alabama
           measures to criminalizing care

           Hi       thanks for reaching out and for sharing this great effort with us, and thanks
                 for the connection.        nice to meet you and we are so grateful to have
           Adm. Levine's support on this matter.

           I'd also like to share the recent position statement on this matter released last week
           by USPATH, which includes line-by-line rebuttals to the Florida DOH action.

           https://www.wpath.org/media/cms/Documents/USPATH/2022/WithcY020Date/020Position°/020Stateme
           nr/020AntiT020Trans°/020Leg')/020USPATHT020Apr/02022%202022.pdf? 1=1650665621

           USPATH process for endorsement usually involves review by the full Board. I am in
           support of endorsiniGI will pass that recommendation along to the rest of our
           Board.       and     , can you please weigh in.

           Relatedly,       I will be reaching out to you directly in the coming days to discuss a
           USPATH initiative in this area currently under development.

           Best,




           Sent: Monday, May 2, 2022 1:12 PM




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           To:
           Cc:


           Subject: Re: Request to help disseminate report critiquing science behind Texas and Alabama
           measures to criminalizing care

           This Message Is From an External Sender
           This message came from outside your organization.

           Dear MI
           thank you for reaching out and thank you for sharing the Report, which is most helpful and clearly
           points out the arguments as to why gender affirming care is vital to the lives of TGD people, young
           and older.
           I am certainly more than happy to endorse this report on behalf of WPATH and we shall formally
           discuss this at the Executive Committee on Wednesday and get back to you and your co-authors
           ASAP.
           Furthermore i had meetings today with                       and her staff at HSS and with
                                 I think it is important that we all work together to counteract those who oppose
           equality and evidence-based care for TGD people. It will be a tough fight, but we must fight
           relentlessly and aggressively to ensure equal access to care for all.
           Hence, I would like to introduce you to                  , who is a member of               staff and may
           be able to help you forward with your report.
           I am also GM"                         into this email, who is
           I am sure          will contact you separately, but I have no doubt USPATH will be highly supportive of
           your report too.
           With warm wishes, and thank you again,




           On 2022-05-02 18:41.                wrote:

            Hello

            I hope you both are doing well. I recently collaborated with a group of colleagues from Yale
            University on the following report, which was released today:

            Biased Science: The Texas and Alabama Measures Criminalizing Medical Treatment for
            Transgender Children and Adolescents Rely on Inaccurate and Misleading Scientific Claims

            https://medicine.yale.eduichildstudy/policy/lqbtq-youth/




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            https://law.yale.edu/yls-today/news/new-report-refutes-flawed-science-texas-and-alabama-
            transgender-legal-actions
            I'm wondering if WPATH and/or USPATH could help disseminate the report and/or provide some
            form of endorsement? Any other ideas for dissemination are also welcome!

            Best




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           SOC 8
           From:   Joshua Safer <jsafer
           To:     marcibdoc                                           , walterbouman
                   <walterboumar
                             liMil                 vtangp
           Date:   Thu, 12 Aug 2021 12:27:39 -0400

           Hi Walter, Marci, Vin, and

           I just got off a very productive call with Rachel Levine. The failure of WPATH to be ready
           with SOC 8 is proving a barrier to optimal policy progress and she was eager to learn when
           SOC 8 might be published.

           My view is that this should be taken as a charge from the United States government to do
           what is required to complete the project immediately.

           I am happy to have a quick call to discuss nuance if that would be helpful. And she would be
           happy to speak as well if that might move things along.

           Josh




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           RE: Update & further steps
           From:     lorenschechte
           To:       "joz.motmansi            <joz.motman                      Non Binary SOC 8
                     <nonbinarysoc8 wpath.org>
           Cc:       walter.bouman                                          'eremi.carswel
                     rdehr                   per                                     t.steensma
                     laur                    drbenvincent
           Date:     Thu, 02 Sep 2021 20:39:38 -0400

           Hello friends-

           The chapter s excellent. I have two general comments:

                 1. I am concerned about language such as "insufficient evidence," "limited data," etc...I say this
                    from the perspective of current legal challenges in the US. Groups in the US are trying to
                    claim that gender-affirming interventions are experimental and should only be performed
                    under research protocols (this is based on two recent federal cases in which I am an expert
                    witness). In addition, these groups already assert that research in this field is low quality (ie
                    small series, retrospective, no controls, etc...). My specific concern is that this type of
                    language (insufficient evidence, limited data, etc...) will empower these groups and reinforce
                    their erroneous assertions
                 2. I am wondering if we should be less specific about listing particular procedures. My concern
                    is that if we try to list every procedure, we will inevitably either leave some procedures out
                    (whether inadvertently or as a result of future technical innovations, evolution of thought,
                    etc...). Once again, thinking within the framework of the current US legal system, if we leave
                    a procedure out, that may allow insurance companies to deny coverage (ie...this procedure
                    isn't listed in SOC 8).

           Just my thoughts...outstanding work from the group!

           loren

           From: Motmans Joz <Joz.Motmans
           Sent: Thursday, September 2, 2021 12:20 PM
           To: nonbinarysoc8@wpath.org
           Cc: walter.bouma                   Motmans Joz
                              Jeremi.Carswell                     rdehrba
           lakuper             Loren Schechter, M.D. ‹                  ; seal
           t.steensm            Laura                   Ben Vincent

           Subject: RE: Update & further steps

           Dear fellow authors,

           This email is a last reminder for the deadline of tomorrow — reason why we used all emails beside
           the nonbinary group mail — as we hope you receive this well.




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           Many of you have already contributed to the online V2 text, thank you so much, we think it's getting
           great. Please note that tomorrow at 7 pm CEST we'll take the document down, so we can finalize
           the editing, insert all references in the requested style etc. before sending it in to the SOC8 leaders.
           If there are no objections in the document for the suggestions made, we'll accept all changes as they
           are.

           We hope this second draft of our chapter will pass without much further work, we expect feedback
           from the SOC8 leaders real soon, and the final deadline will be 17/9 as you can see here in the time
           tracking sheet. Almost there!

           Kind regards
           Joz & Walter


           7. •   ,r. JOZ MOTMANS (hiiihem)
           Coordinator
           Transgender Infopunt




                            UZ
                            GENT



                                       EXPI    5T j WARMS /CA
                                   irart0VAlit   T0PWERKGEVE




           Van: Motmans Joz
           Verzonden: donderdag 26 augustus 2021 22:41
           Aan: nonbinarysoc8nwpath.oro
           Onderwerp: Update & further steps

           Dear SOC8 GNB group,

           We had a short meeting tonight to discuss the way forward, given the strict deadline next week
           (Sept 3rd). All in all it is not that much work, but we do need you.

           To keep track of our work we have:
                1. made a folder in our google drive with the comments we received on the previous version
                   (V1): https://drive.cloocile.com/drive/folders/1MYs0ghXliZo7a3I-
                   0N8uKbY3J5uJu4o?usp=sharing




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                2. Made a folder with the feedback from the 5OC8 chairs and our clean as well original
                   reworked document:
                   https://drive.gooule.com/drive/folders/lFbMal2Vf7HmlgibNuN52T26AdyY3baVE?usp=sharin

                3. Uploaded the 2nd version: We moved the new text (V2) (with already comments from
                   Leighton) in the drive:
                   https://docs.google.com/document/d/lWnTB5vyFMtwHmZhayEmAOQpV4odHSZ liedit?usp=
                   sharinci&ouid=115914970643802157130&rtpof=true&sd=true This is the new version we
                   invite you all to work in. So the previous folders are just for your archive.

           I promised to check / double check that previous suggestions and/or comments (in folder V1) will be
           inserted in the new text V2.

           You are all invited to rework this V2 text. When doing so please:
                • Do not take the doc from the drive, so don't download a personal copy since we will all be
                  working in the same doc.
                • Make sure you use the setting of making suggestions: when opening the link or the doc in
                  the drive, you can see a pen in your upper right corner (see picture below), if you click on it
                   you see 3 options: choose the 2nd labeled "making suggestions" (or sth alike, mine is in
                   Dutch). The third gives you an idea on how the clean version would look like, the first
                   enables you to make direct changes but they cannot be seen by others.) Your pen should be
                   in green with a line underneath as you can see in this image:



                                               E




                                               V

           Please do insert newer literature you came across in the last year or so, only published materials can
           be added in the references. Just link the article in the comments and we can make sure it gets
           inserted in endnote before sending in.

           I will close the doc on Friday next week so we have the weekend to do the last editing & putting all
           references as they should be.

           Thanks a lot for all your efforts, they are highly appreciated!

           Kind regards

           Walter & Joz




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           Prof. Dr. JOZ MOTMANS (hii/hem)
           Coordinator
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